Case 2:02-cV-02958-STA-egb Document 109 Filed 07/05/05 Page 10f3 P e|D 125

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IN THE UNITED STATES DISTRICT COURT
FoR THE WESTERN DrSTRICT oF TENNESSEE05 ju\_ _5 PM 1=59

wEsTERN DIVISION
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THoMAs P. LEwls, wm OF itt
Plaintiff,
v. No. 02-29ss-B

UNITED STATES,
Defendant/Third-Party Plaintiff,

V.

RONALD L. EDMONDS,

Third-Party Defendant.

 

ORDER OF REFERENCE

 

Before the court is Plaintiff’s Objections to Third Party Defendant’s Rule 26(3)(3)
Disclosures filed on June 27, 2005.

These objections are referred to the United States Magistrate Judge for determination.
Any objections to the magistrate judge’s order shall be made within ten (10) days after service
of the order, setting forth particularly those portions of the order objected to and the reasons for
the objections. Failure to timely assign as error a defect in the magistrate judge’s order will
constitute a waiver of that objection. S_ee Rule 72(a), Federal Rules of Civil Procedure.

IT rs so 0RDERED this § day of July, 2005

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OE.I DANIEL BREEN \
OED STATES DISTRICT JUDGE

Th!s document entered on the docket sheet|'

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Honorable J. Breen
US DISTRICT COURT

